                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW MEXICO

In re                                                       )      Chapter 11
                                                            )
LAS UVAS VALLEY DAIRIES, a New Mexico                       )
General Partnership,                                        )      Case No. 17-12356-t11
                                                            )
                  Debtor.                                   )      Hon. David T. Thuma
__________________________________________                  )
                                                            )
ROBERT MARCUS, not individually, but solely in his          )
capacity as LIQUIDATING TRUSTEE OF THE                      )
LAS UVAS LIQUIDATING TRUST,                                 )
                                                            )
                       Plaintiff,                           )
                                                            )
v.                                                          )      Adv. No. 19-01009-t
                                                            )
LAS UVAS VALLEY DAIRIES, DEAN HORTON,                       )
FRANCES HORTON , LOREN HORTON, AND                          )
MITCHELL HORTON,                                            )
                                                            )
                       Defendants.                          )

                                STIPULATION OF DISMISSAL

         Robert Marcus, not individually but solely in his capacity as Liquidating Trustee of the

Las Uvas Liquidating Trust and Loren Horton, by and through their undersigned counsel, hereby

stipulate and agree pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, as

adopted by Rule 7041 of the Federal Rules of Bankruptcy Procedure, to the dismissal of the

complaint filed in the above-referenced adversary proceeding (the “Adversary Proceeding”),

with prejudice. Each party will bear their own attorneys’ fee and costs. For the avoidance of

doubt, this stipulation shall operate as a dismissal of Defendant Loren Horton only and not to any

of the other above-captioned defendants in the Adversary Proceeding.



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Dated: September 13, 2019              Respectfully Submitted,

                                       SAUL EWING ARNSTEIN & LEHR LLP

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                                       Counsel to Robert Marcus, not individually but
                                       solely in his capacity as Liquidating Trustee of the
                                       Las Uvas Liquidating Trust

                                       LOREN HORTON

                                       By: /s/ Approved via e-mail 9/13/2019
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